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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

In re:
                                                        Case No. 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,1                             Chapter 11 (Jointly Administered)

                    Debtors.



  RESERVATION OF RIGHTS AND LIMITED OBJECTION OF THE OFFICIAL
COMMITTEE OF EQUITY SECURITY HOLDERS TO DEBTORS’ MOTION FOR AN
 ORDER (A) APPROVING ASSET PURCHASE AGREEMENT; (B) AUTHORIZING
   SALE OF THE TRANSFERRED ASSETS FREE AND CLEAR OF ALL LIENS,
    CLAIMS, ENCUMBRANCES AND INTERESTS; (C) AUTHORIZING THE
ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND
 LEASES IN CONNECTION THEREWITH; (D) APPROVING SETTLEMENT WITH
     THE PACBRIDGE PARTIES; AND (E) GRANTING RELATED RELIEF

         The Official Committee of Equity Security Holders (the “Equity Committee”) of

Premier Exhibitions, Inc. (“Premier”), Chapter 11 Debtor in Case No. 3:16-bk-02232-PMG and

the parent company of RMS Titanic, Inc. (“RMST”), the Chapter 11 Debtor in Case No. 3:16-

bk-02230-PMG (the “RMST Case”), hereby files its Reservation of Rights and Limited

Objection (the “Reservation of Rights”) to the Debtors’ Motion for an Order (A) Approving

Asset Purchase Agreement; (B) Authorizing Sale of the Transferred Assets Free and Clear of
All Liens, Claims, Encumbrances and Interests; (C) Authorizing the Assumption and

Assignment of Certain Executory Contracts and Leases in Connection Therewith; (D)

Approving Settlement with The PacBridge Parties; and (E) Granting Related Relief (the “Sale

Motion”) [Docket No. 1055] (the “Sale Motion”), and respectfully represents the following:



1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier
Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier
Exhibitions International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising,
LLC (3867); and Dinosaurs Unearthed Corp. (7309). The Debtors’ service address is 3045 Kingston
Court, Suite I, Peachtree Corners, Georgia 30071.



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                                   PRELIMINARY STATEMENT
         The Equity Committee previously filed its Response In Opposition To Debtors' Motion

For Entry Of An Order (A) Approving Competitive Bidding And Sale Procedures; (B) Approving

Form And Manner Of Notices; (C) Approving Form Of Asset Purchase Agreement; (D)

Approving Break Up-Fee And Expense Reimbursement; (E) Scheduling Auction And Hearing To

Consider Final Approval Of Sale, Including Rejection Or Assumption And Assignment Of

Related Executory Contracts And Unexpired Leases; (F) Authorizing Sale Of The Transferred

Assets Free And Clear Of All Liens, Claims, Encumbrances, And Interests; (G) Approving

Settlement With The PacBridge Parties; And (H) Granting Related Relief (the “Original Equity

Committee Opposition”).       [Docket 1170]. That Original Equity Committee Opposition was

denied by the Court. The Equity Committee, by this pleading, does not seek to re-litigate issues

previously resolved by the Court. That being said, however, to the extent the objections

previously raised by the Equity Committee pertain to the current sale, they are incorporated

herein by this reference.

         The Equity Committee previously expressed its concerns that the sale would be

conducted in a manner designed to chill the bidding. Whether that is the case will not be known

until competing bids have been submitted. Objections to the sale motion, however, are due the

same day that bids are due under the Bid Procedures order. Accordingly, as of the time that this
Reservation of Rights is submitted, the results of the Debtors’ solicitation of competing bids is

unknown. It is hoped that competing bids will be submitted and that competing bids that are

submitted will qualify to participate in an auction. As of now, it is not known whether there will

be an auction. For all of these reasons the Equity Committee reserves rights with respect the

arguments relating to the sale.

         As previously noted by the Equity Committee, numerous bid protections were afforded to

the Stalking Horse Purchaser which were not necessary to compel or entice the Stalking Horse

Bid. The $1.5 million breakup fee, the $500,000 minimum bid increments, the ability of the

Stalking Horse Purchaser to match rather than exceed any initial overbid, the limitation on


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solicitation of competing bids, the limitation on the form of the purchase, and the nature of the

process which saw insiders and insider affiliates negotiate the Stalking Horse Bid in the dark,

without notice to or input from either official Committees, were previously objected to by the

Equity Committee. In addition, the Committee previously filed its Objection to Claim No. 29-1

(the "Claim") of PacBridge Capital Partners (HK) Ltd. [Docket 1070]. While the Sale Motion

requires allowance of the PacBridge claim as a condition to the sale, nowhere in the Sale Motion

is there evidence in support of allowance of that claim.2

         Finally, the Equity Committee notes again that the process leading to the sale effectively

precludes this estate and all parties in interest from realizing the true value of the Debtors’ assets.

Depending upon the outcome of the sale, that value will be lost to this bankruptcy estate but

gained by the successful purchaser.3

         For all of the foregoing reasons, the Equity Committee reserves its rights with respect to

the objections to the sale and the sale process. While the Equity Committee hopes that the

ultimate result of the sale will exceed the Committee’s expectations, this reservation of rights is

submitted in the event it does not.

                                          LIMITED OBJECTION.
         The Equity Committee objects to the Motion to the extent that the proposed form of

order, attached as Exhibit C to the Sale Motion (the “Proposed Order”), provides for the
dismissal of the RMST Case without compliance with Section 1122 of the United States

Bankruptcy Code, 11 U.S.C. § 101, et seq. (the “Bankruptcy Code”). See Proposed Order, ¶¶ Z,

33.

A.      The Sale Motion Does Not Comply with Section 1112 of the Bankruptcy Code
        Which Governs Dismissal of Chapter 11 Bankruptcy Cases.



2
 The Equity Committee’s objection to the PacBridge Claim is tracking the Sale Motion and would be mooted if the
Sale Motion, including allowance of the PacBridge Claim, is approved by the Court.

3
 See, e.g., Transcript of the hearing of August 30, 2018, testimony of Mr. Gilbert Li, at p. 121, lines 1-20; testimony
of Mr. Giovanni Wong, at p. 126, line 3-13.



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         Bankruptcy Code Section 1112(b) governs the dismissal of Chapter 11 bankruptcy

cases, such as the RMST Case. Section 1112(b) provides that:

                 [O]n request of a party in interest, and after notice and a hearing,
                 the court shall convert a case under this chapter to a case under
                 chapter 7 or dismiss a case under this chapter, whichever is in the
                 best interests of creditors and the estate, for cause . . .

         11 U.S.C. § 1112(b) (emphasis added).

         The party seeking dismissal bears the burden of establishing, by a preponderance of the

evidence, that “cause” exists for dismissal. Synovus Bank v. Brooks (In re Brooks), 488 B.R.

483, 489 (Bankr. N.D. Ga. 2013). Section 1112(b)(4) sets forth a list of sixteen factors that may

be considered to be “cause” for purposes of the section. However, the list is non-exclusive, and

“[t]he court will be able to consider other factors as they arise, and use its equitable powers to

reach an appropriate result in individual cases." In re Albany Partners, 749 F.2d 670, 674 (11th

Cir. 1984) (quoting H.R.Rep. No. 595, 95 Cong., 1st Sess. 406 (1977), U.S.Code Cong. &

Admin.News 1978, pp. 5787, 6362).

         Once cause has been established, the statute requires the Court to weigh the interests of

creditors and the estate in determining whether to dismiss or to convert the case to one under

Chapter 7 of the Bankruptcy Code. Official Comm. of Unsecured Creditors v. Moultrie (In re

Moultrie), 586 B.R. 498, 506 (Bankr. N.D. Ga. 2018).

         Section 1112(b)(3) adds procedural constraints to the court’s consideration of a motion
to dismiss. It requires that the Court commence a hearing on a motion to dismiss within 30

days after it is filed, and to rule on it within 15 days after the hearing, unless the movant

expressly waives these time limitations, or compelling circumstances exist to deviate from

them. 11 U.S.C. § 1112(b)(3).

B.      The Debtors Have Failed to Satisfy the Requirements of Section 1112(b) and
        the RMST Case Cannot be Dismissed until Such Time as the Debtors Do So.
         The Debtors have failed completely to satisfy the requirements of Section 1112. The

Debtors have not brought a noticed motion seeking dismissal of the RMST Case, despite the

explicit requirement in Section 1112(b) that such a motion be brought as a prerequisite to


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dismissal of a chapter 11 case. All that the Debtors have done is to insert into their Sale Motion

a requirement that the RMST case be dismissed as a condition to the sale. As a result, the

Debtors have not established “cause” for dismissal, despite the fact that the burden to

demonstrate cause rests with them as the parties seeking dismissal. In re Brooks, 488 B.R. at

489.

         Furthermore, in the absence of such a noticed motion, this Court has not been afforded

the opportunity to consider whether the interests of creditors and the RMST estate would be

better served by dismissing the RMST Case, or converting it to one under Chapter 7. There

would appear, even in the absence of argument and evidence that would be presented in the

context of the noticed motion required under Section 1112(b), to be reasons to believe that a

conversion of the RMST Case may better serve the interests of creditors than dismissal.

         While the Debtors’ bankruptcy cases are jointly administered, they have not been

substantively consolidated. Thus, for example, in addition to liquidating the estate’s assets a

Chapter 7 Trustee would be able to investigate and pursue any actions for recovery that may be

property of the RMST estate and to investigate and potentially object to claims. For example,

the Monthly Operating Report for RMST for the month of August 2018 [Docket No. 1121]),

shows an intercompany claim in the amount of $4.8 million owed by RMST to Premier

Exhibitions Management, LLC. Dismissal of the RMST Case under the sale order, which
transfers assets free and clear to the purchaser, would preclude recovery of that receivable for

the benefit of creditors of the remaining debtors holding claims against RMST. None of these

essential functions are addressed by the dismissal of the RMST Case provided for in the

Proposed Order. See, In re Global Emergency Resources, LLC, 536 B.R. 76 (Bankr. S.D. Ga.

2016) (noting that, after a sale of assets pursuant to Section 363 of the Bankruptcy Code,

conversion would be appropriate because, inter alia, “[a] chapter 7 trustee will be motivated to

pursue any appropriate objections to claims and pursue appropriate turnover actions”). That

opportunity is lost, without any justification, by a pro forma dismissal of the RMST Case




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without any consideration of the ramifications of that dismissal upon the remaining affiliated

debtors and the best interests of those estates.
C.       The Proposed Purchaser Should Not Be Entitled to the Good Faith
         Purchaser Protections of 11 U.S.C. § 363(m).

         In subsection C of the Response section of the Original Equity Committee Opposition,

the Equity Committee argued that Premier Acquisition Holdings LLC (the "Proposed

Purchaser") is not a good faith purchaser under applicable case law, and should not be entitled to

the good faith purchaser protections of Section 363(m) of the Bankruptcy Code. The Equity

Committee's factual statements and argument in that subsection C are incorporated by reference

herein. The Stalking Horse Purchaser has failed to produce evidence in support of a good faith

finding.

         A "good-faith purchaser" is "one who purchases the assets for value, in good faith and

without notice of adverse claims." In re Advanced Contracting Solutions, LLC, 582 B.R. 285,

327 (Bankr. S.D.N.Y. 2018), quoting In re GSC, Inc., 453 B.R.132, 180 (Bankr. S.D.N.Y. 2011).

A good-faith analysis examines "the purchaser's conduct in the course of the bankruptcy

proceedings[,] ... [which includes] the purchaser's actions in preparation for and during the sale

itself." Id. "The purchaser is prohibited from engaging in any fraudulent or collusive actions that

are specifically intended to affect the sale price or control the outcome of the sale." Id. at 180-81.

In that regard, the actions of the Stalking Horse Group in their negotiations with the Debtors

must be reviewed.

         Prior to the deposition of Marshall Glade, Glass Ratner produced the term sheet ((the

“Term Sheet”) that the Equity Committee marked as Exhibit D to its Opposition to the Bid

Procedures. See Docket 1170, Exhibit D, pages 84 to 92 of 99. That Term Sheet proposed a

transaction by Apollo and Alta, and “certain other Equity Holders.” The “other Equity Holders”



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were limited to insider-affiliated Equity Holders. Exhibit D, Section II. Ftnte 1., at 86 of 99.

The Term Sheet also proposed that Daoping Bao “be one of the members of the Board of

Directors.” Exhibit D, Section V., at 88 of 99.

                 Subsequent to Mr. Glade’s deposition, Glass Ratner produced a handful of

additional documents, including a certain email, dated January 22, 2018, under which Alta and

Apollo transmitted the Term Sheet to Glass Ratner. That transmittal email is attached hereto as

Exhibit A. The transmittal email specifically admonished Glass Ratner that the Term Sheet was

being transmitted “on the condition that it be kept strictly confidential and for the Company’s

and its advisors’ eyes only, and subject to your agreement it will not be shared with any other

party without [Apollo and Alta’s] written consent.”

                 Marshall Glade then forwarded the transmittal email with the Term Sheet to

Daoping Bao (CEO and Chairman of the Board), Jessica Sanders (Corporate Secretary), Jerry

Henshall (Chief Financial Officer), and Jeffrey Cavender with the question “Jeff-they have

specified for company and advisors only – does that mean do not disclose to committees???”

The answer to that question was “Yes” – the Debtors did not disclose the Term Sheet to the

committees. The Debtors informed the committees that a term sheet had been received from

Alta and Apollo but did not disclose the content or substance of that term sheet despite repeated

requests by the committees for that information. The committees continued to be kept in the

dark for the next four weeks. Marshall Glade testified that Glass Ratner put Alta, Apollo, and

PacBridge together as combined bidding partners, all without the knowledge of the committees.

During the four weeks after receipt of the Term Sheet, PacBridge, Alta, and Apollo jointly had

several meetings with the Debtors’ officers and jointly toured the Debtors’ facilities in

connection with negotiation and preparation of a purchase proposal all without the knowledge of



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either committee. It was not until the second day of the mediation in Atlanta that Apollo, Alta,

and PacBridge appeared as a combined bidding group that the committees first learned that

Apollo, Alta and PacBridge were a combined bidder for the company. The Mediation broke up

soon thereafter.     Within two weeks the joint PacBridge/Apollo/Alta purchase offer was

circulated to the parties.

         The manner in which the Stalking Horse Group came together and went about their

negotiations raises questions of their good faith. Why was it necessary to join together and

negotiate surreptitiously, keeping the representatives of the key stakeholders of the estate in the

dark? The fact that the Debtors may have aided and abetted their conduct does not excuse it. It

was Alta, Apollo, and PacBridge which chose to operate in a clandestine manner that

undermined the sale process and the prospects for a consensual resolution of the bankruptcy

case. That is not “good faith”.

         Of course, to the extent the Proposed Purchaser is not the winning bidder, the Court

should require the Debtor and successful bidder to establish, with competent evidence, the

successful bidder's entitlement to protection under 363(m), and the Court should allow the

Equity Committee to challenge that entitlement.

                                      CONCLUSION.
         For the reasons set forth above, the Equity Committee reserves rights with respect to the

sale and objects to the Sale Motion to the extent that it purports to seek an order of this Court

dismissing the RMST Case without compliance with the procedural and substantive

requirements of Section 1112 of the Bankruptcy Code.

Date: October 5, 2018                            By: /s/ Peter J. Gurfein
                                                 Peter J. Gurfein
                                                 LANDAU GOTTFRIED & BERGER LLP
                                                 1801 Century Park East, Suite 700
                                                 Los Angeles, California 90067
                                                 (310) 557-0050
                                                 (310) 557-0056 (Facsimile)

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                                                 pgurfein@lgbfirm.com
                                                 -and-

                                                 AKERMAN LLP
                                                 By: /s/ Jacob A. Brown
                                                 Jacob A. Brown
                                                 Florida Bar No. 170038
                                                 50 North Laura Street, Suite 3100
                                                 Jacksonville, Florida 32202
                                                 (904) 798-3700
                                                 (904) 798-3730 (Facsimile)
                                                 Jacob.brown@akerman.com
                                                 Attorneys for the Official Committee of Equity
                                                 Security Holders of Premier Exhibitions, Inc.



                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 5, 2018, the foregoing was transmitted to the
Court for uploading to the Case Management/Electronic Case Files ("CM/ECF") System, which
will send a notice of electronic filing to all creditors and parties in interest who have consented to
receiving electronic notifications in this case. In accordance with the Court's Order Granting
Debtors' Motion for an Order Pursuant to 11 U.S.C. § 105(a) and Rule 2002 Establishing Notice
Procedures (Doc. 140), a copy of the foregoing was also furnished on October 5, 2018 by U.S.
mail, postage prepaid and properly addressed, to the Master Service List attached hereto.

                                                              /s/ Jacob A. Brown
                                                              Attorney




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                               MASTER SERVICE LIST
                              Case No. 3:16-bk-02230-PMG

A-1 Storage and Crane                    ABC Imaging
2482 197th Avenue                        14 East 38th Street
Manchester, IA 52057                     New York, NY 10017

A.N. Deringer, Inc.                      ATS, Inc.
PO Box 11349                             1900 W. Anaheim Street
Succursale Centre-Ville                  Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                           CBS Outdoor/Outfront Media
30 Rockefeller Plaza                     185 US Highway 48
54th Floor                               Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                       Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor              709 Miner Avenue
Vancouver, BC V6C 3R8                    Scarborough, ON M1B 6B6

Expedia, Inc.                            George Young Company
10190 Covington Cross Drive              509 Heron Drive
Las Vegas, NV 89144                      Swedesboro, NJ 08085

Gowlings                                 Hoffen Global Ltd.
550 Burrard Street                       305 Crosstree Lane
Suite 2300, Bental 5                     Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications               MNP LLP
5230 W. Patrick Lane                     15303 - 31st Avenue
Las Vegas, NV 89118                      Suite 301
                                         Surrey, BC V3Z 6X2

Morris Visitor Publications              NASDAQ Stock Market, LLC
PO Box 1584                              805 King Farm Blvd.
Augusta, GA 30903                        Rockville, MD 20850

National Geographic Society              NYC Dept. of Finance
1145 - 17th Avenue NW                    PO Box 3646
Washington, DC 20036                     New York, NY 10008
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PacBridge Limited Partners                  Pallet Rack Surplus, Inc.
22/F Fung House                             1981 Old Covington Cross Road NE
19-20 Connaught Road                        Conyers, GA 30013
Central Hong Kong

Ramparts, Inc.                              Screen Actors Guild
d/b/a Luxor Hotel and Casino                1900 Broadway
3900 Las Vegas Blvd. South                  5th Floor
Las Vegas, NV 89119                         New York, NY 10023

Seaventures, Ltd.                           Sophrintendenza Archeologica
5603 Oxford Moor Blvd.                      di Napoli e Pompei
Windemere, FL 34786                         Piazza Museo 19
                                            Naples, Italy 80135

Syzygy3, Inc.                               Time Out New York
231 West 29th Street                        405 Park Avenue
Suite 606                                   New York, NY 10022
New York, NY 10001

TPL                                         TSX Operating Co.
3340 Peachtree Road                         70 West 40th Street
Suite 2140                                  9th Floor
Atlanta, GA 30326                           New York, NY 10018

Verifone, Inc.                              Samuel Weiser
300 S. Park Place Blvd.                     565 Willow Raod
Clearwater, FL 33759                        Winnetka, IL 60093

WNBC - NBC Universal Media                  United States Attorney’s Office
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                                            Macon, GA 31208
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TSX Operating Co., LLC                  Dallian Hoffen Biotechnique Co., Ltd.
c/o James Sanna                         c/o Ezra B. Jones
70 W. 40th Street                       305 Crosstree Lane
New York, NY 10018                      Atlanta, GA 30328
Creditor Committee                      Creditor Committee

B.E. Capital Management Fund LP
Thomas Branziel
205 East 42nd Street , 14th Floor
New York, NY 10017
Creditor Committee
                                     Case 3:16-bk-02230-PMG                                       Doc 1225                     Filed 10/05/18                   Page 13 of 13
From                                         Marshall         Glade      <0=GLASSRATNEROU=EXCHANGE                                                     ADMINISTRATIVE           GROUP
                                             FYDIBOHF23SPDLTCN=RECIPIENTSCN=MGLADE>
To                                           Daoping Bao Jessica Sanders jsandersprxicom                                                         Jerry Henshall      jhenshallprxicom
                                             Cavender          Jeffery      W
CC                                           Armen Avedissian               William         McCaleb

Sent                                         1222018           41916 PM
Subject                                      FW         Term Sheet

Attachments                                  DM5600385v6RMSTitanicPlanTermSheetpdf




See below           I   have not reviewed yet


Jeff      they have            specified          for    the company and               its    advisors only                     does            this    mean do     not disclose to

cornnnittees



From       Gilbert       Li     mailtoGli©AltaFundamentalcom
Sent Monday               January            22 2018 415 PM
To     Marshall Glade <mglade©glassratnercom>                                                William McCaleb <wmccaleb©glassratnercom>

Cc     Feldsher          Jennifer lenniferfeldsher©bracewellcom>                                                  Bill       Schwartz <bschwartz©ApolloLPcom>                                   Bretton

Hunchak        <BHunchak©AltaFundamentalcom>
Subject        Term       Sheet


MarshallWilliam



As we discussed                  earlier         please see attached                  our    initial    term sheet as promised                                The attached         term sheet       is


being     sent for discussion                     purposes only on the condition that                                   it    be kept           strictly   confidential    and     for   the

Companys and                   its   advisors           eyes only and subject                     to   your agreement                      it    will   not be shared with         any other       party

without    our written consent



As you can imagine we                        tried to         put   in   there a      lot    ofitems many to be discussednumbers                                           to   be confirmed
between        your side and ours                        Please       let   us know          when you and team have had a chance                                          to    review and are

ready to discuss                     We   will    be on standby and                available            to   speak


Best
Gilbert




Gilbert   Li

Alta Fundamental          Advisers         LLC
777    Third   Avenue         19th   Floor

New York       NY       10017

Office    212    3191778

glirdaltafundamentalcom




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as    an offer to       sell     or a solicitation             of an offer to buy an interest in any Alta Fundamental Advisers                                                       fund Please

refer to   the relevant offering                        memorandum              for   full    details        on investment products                           strategies        and the associated

risks Past performance                       is   not necessarily           indicative            of future results




                                                                                                       Exhibit A
                                                                                                                                                                                                        GLASS003840
